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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS




UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
v.                                       )            No. 06-30027-DRH-2
                                         )
CURTIS FAULKNER, JR.,                    )
                                         )
                    Defendants.          )




                                        ORDER

HERNDON, District Judge:

             This matter is before the Court on Defendant’s motion to continue the

trial setting. The Court finds that trial should be postponed since the parties are still

in plea negotiations. In addition, the Court finds that pursuant to 18 U.S.C. §

3161(h)(8)(A), the ends of justice served by the granting of such a continuance

outweigh the interests of the public and Defendant in a speedy trial. Therefore, the

Court GRANTS Defendant’s motion to continue. (Doc. 16.) The Court CONTINUES

the trial setting from June 26, 2006 at 9:00 a.m. to the 10th day of July 2006, at

9:00 a.m. The time from the date Defendant’s motion was filed, June 21, 2006, until


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the date on which the trial is rescheduled, July 10, 2006, is excludable time for the

purposes of speedy trial.

             IT IS SO ORDERED.

             Signed this 22nd day of June, 2006.



                                             /s/        David RHerndon
                                             United States District Judge




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